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                                        ORDERED.


     Dated: April 10, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


IN RE:                                          )
                                                )
Petr Vach,                                      )         CASE NO. 6:19-bk-00976-KSJ
Heather Dawn Vach,                              )         CHAPTER 7
                                                )
         Debtors.                               )

 ORDER AUTHORIZING CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK
                GLOBAL REAL ESTATE SERVICES TO
   TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327

         THIS CASE came on for consideration without hearing on the Trustee’s Application to

Retain BK Global Real Estate Services to Procure Consented Public Sale Pursuant to 11 U.S.C.

§327 (Doc. No. 18) filed on April 10, 2019. The Court concludes that BK Global Real Estate

Services does not hold or represent an interest adverse to the estate and are disinterested persons

within the meaning of Section 101(14) of the Bankruptcy Code. The Court further concludes that

BK Global Real Estate Services is qualified to represent the Trustee and that the Court’s

authorization of their employment is in the best interest of the estate. Accordingly, it is
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       ORDERED the Application is granted and the Court approves the retention of BK Global

Real Estate Services to sell real property located at 910 Hawk Landing, Fruitland Park, FL 34731.

All compensation authorized is subject to the provisions of Section 330 of the Bankruptcy Code

and any hourly rate is not guaranteed and is subject to review and no payment whatsoever shall be

made to the attorney absent application and order.


Trustee, Lori Patton, is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the Order.




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